       Case 1:11-cr-00426-JKB          Document 397        Filed 12/02/14       Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *

UNITED STATES OF AMERICA                          *

       v.                                         *          CRIMINAL NO. JKB-11-0426
                                                             (CIVIL NO. JKB-14-3458)

DONTE BERNARD BAKER                               *

       Defendant                                  *
       *     *         *      *       *       *       *      *       *      *       *       *

                                          MEMORANDUM

       Now pending before the Court is the Defendant’s pro se Motion to Vacate, Set Aside or

Correct Sentence (ECF No. 390). The Government has responded to the Motion (ECF No. 392)

and the Defendant has replied (ECF No. 396).

       The Motion will be denied for the reasons stated in the Government’s response (ECF No.

392). Further, as the transcript of the sentencing hearing reveals, the Court was only slightly

influenced by the Federal Sentencing Guidelines computation when it determined the sentence.

Other factors under 18 U.S.C. §3553(a) were more prominent in the Court’s decision,

particularly the cruelty with which Ms. Gammon was murdered – shot multiple times and left

staggering at the edge of Leakin Park, with bullet wounds that ultimately would take her life

hours later at the hospital. Mr. Baker committed a vicious crime and the facts of the case, as

discussed during the sentencing hearing, led directly to the sentence that was imposed. A third

point subtracted from the Guideline Calculation to reflect additional acceptance of responsibility

would have had no effect whatsoever on the sentence because it would not have changed the

underlying brutality of the offense, the factor that ultimately had the greatest significance in the

sentence.

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      Case 1:11-cr-00426-JKB        Document 397       Filed 12/02/14     Page 2 of 2



      A separate order denying the Motion will be entered.



DATED this 2nd day of December, 2014.


                                                  BY THE COURT:



                                                                 /s/
                                                  James K. Bredar
                                                  United States District Judge




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